                  Case 5:16-cv-04955-LHK Document 344 Filed 06/15/20 Page 1 of 3




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14                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
15

16   STEPHEN HADLEY, MELODY DIGREGORIO,
     ERIC FISHON, KERRY AUSTIN, and
17   NAFEESHA MADYUN, on behalf of themselves,
     all others similarly situated, and the general public,   Case No. 5:16-cv-04955-LHK
18
                                                              JOINT CASE MANAGEMENT CONFERENCE
            Plaintiffs,
19                                                            STATEMENT

20                          v.                                Judge:     Hon. Lucy H. Koh
                                                              CMC:       June 24, 2020, 2:00 p.m.
21   KELLOGG SALES COMPANY,

22          Defendant.
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                              Hadley v. Kellogg Sales Company, No. 16-cv-4955-LHK
                           JOINT CASE MANAGEMENT CONFERENCE STATEMENT
                  Case 5:16-cv-04955-LHK Document 344 Filed 06/15/20 Page 2 of 3




 1          Pursuant to N.D. Cal. Civ. L.R. 16-10(d), Plaintiffs Stephen Hadley, Melody DiGregorio, Eric

 2   Fishon, Kerry Austin, Nafeesha Madyun and Defendant Kellogg Sales Company submit the following Joint

 3   Case Management Conference Statement to report progress or changes since the last statement was filed, and

 4   to make proposals for the remainder of the case development process.

 5          On February 20, 2020, the Court denied without prejudice Plaintiffs’ motion for preliminary approval

 6   of a class settlement. See ECF No. 339. For assistance in addressing the issues the Court raised, the parties

 7   agreed to attend another mediation in Chicago before the Honorable James F. Holderman (Ret.), which was

 8   initially scheduled for April 23, 2020 and then rescheduled to June 9, 2020 in light of the COVID-19
 9   pandemic and the extension of the Illinois stay-at-home order through the end of May. Due to a medical

10   issue in the family of Kellogg’s lead counsel, the parties subsequently rescheduled the mediation until June

11   18, 2020. The parties are hopeful they will be able to resolve the issues the Court raised.

12          On May 28, 2020, the Court denied Kellogg’s motion for leave to file a motion for reconsideration.

13   See ECF No. 343.

14          In light of current social distancing guidelines, the parties request that the Court continue the

15   upcoming June 24, 2020 case management conference or, if it wishes to speak to the parties, to hold the

16   conference telephonically.

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                              JOINT MANAGEMENT CONFERENCE STATEMENT
                 Case 5:16-cv-04955-LHK Document 344 Filed 06/15/20 Page 3 of 3




 1   Dated: June 15, 2020                 Respectfully Submitted,

 2                                        /s/ Jack Fitzgerald1
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      Pursuant to N.D. Cal. Civ. L.R. 5-1(i)(3), the concurrence to the filing of this document has been obtained
     from each signatory hereto
                                                           2
                             Hadley v. Kellogg Sales Company, No. 16-cv-4955-LHK
                             JOINT MANAGEMENT CONFERENCE STATEMENT
